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                    EXHIBIT 5
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From:           Lee, Patricia J.@CDCR
To:             Walsh Kerry F.; MBien@rbgg.com; "Jane E. Kahn (JKahn@rbgg.com)"; Lisa Ells; Steve Fama; Elise Thorn;
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                Radavsky; Tim Rougeux (trougeux@hotmail.com); Raffa Steven; Clifton Sarah O.; Costa Regina; McKinney,
                Patrick@CDCR; Renteria, Simone@CDCR; Moon, Andrea S@CDCR; Mahoney, Jessica@CDCR
Subject:        Coleman August 21st Work Group Meeting Information
Date:           Friday, August 18, 2017 5:45:58 PM
Attachments:    Factors Contributing to Delays and Proposed Solutions.docx


Good Afternoon,

Attached please find information for discussion during the Monday work
group meeting. In addition, set forth below is an example of information
provided in connection with the Inpatient Timeframe Exceptions.

                  :

Patient was referred from KVSP to APP on 7/12/17. On 7/18/17 he was in an
outside hospital where he had been sent on 7/10/17 for surgery related to
complications of foreign body ingestion. He was discharged from the outside
hospital on 7/27/17, and was admitted to the MHCB at KVSP. He was
readmitted on 7/30/2017 for FB insertion to bilateral forearms and abdomen.
He discharged from the outside hospital 8/5/17 (Saturday) and was endorsed
transferred to SVSP MHCB and was placed on medical hold due to wound care
needs. On 8/8/17 the medical hold was lifted and it was determined that
wound care could occur in APP. On 8/9/17 HCPOP endorsed the patient to
CMF-PIP APP. On 8/10/17, the patient was accepted to CMF-PIP APP. On
8/10/17, the patient was sent to an outside hospital prior to transfer to CMF-
PIP APP. He returned to SVSP MHCB on Saturday 8/12/17. On 8/14/17
(Monday) it was determined in the HQ complex medical patient phone call
that physicians had placed a medical hold and it was discussed that his
medical condition was unstable and he could not be cleared for transport. In
the complex medical call on 8/15/17, it was determined that he should not
be transported until after his appointment with his surgeon on 8/18/17 due
to possible surgical complications and/or infection. On 8/18/17, after the
patient was seen by his surgeon, the medical hold was lifted and HCPOP was
notified that he was ready for transport to APP. No APP bed was available on
8/18/17.

The complete July 2017 Inpatient Timeframe Exceptions will follow under
separate cover.

Thank you for your attention to this matter.

Patricia J. Lee
Assistant Chief Counsel (A)


                                                                                                           Exhibit 5 - 001
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                                                                                                                Exhibit 5 - 002
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                                        Coleman v. Brown
                    Factors that Contribute to Delays in Timely Transfers
                    to Mental Health Crisis Beds and Proposed Solutions

Factors that Contribute to Delays
1. Obtaining the 128C noting clinical acceptance prior to admission of the patient to a crisis
   bed.

   Proposed Solutions:

       a. Proceed with transfer prior to receipt of the 128C
       b. 128C must still be done but will not hold up transfer

2. Delay in obtaining medical clearance prior to transfer of a patient to the crisis bed

   Discussion Items:

       a. Define the scope of the issue – how widespread is the problem?
       b. Discussing alternatives to expediting medical clearance

3. Timely transportation upon endorsement to a crisis bed

       Proposed Solutions:

       a. CDCR is conducting an analysis to determine the scope of the problem, both system-
          wide and at the individual institutions. The initial analysis should be complete by
          August 25, 2017.
       b. Added institution AOD on all bed assignment e-mails from HCPOP
       c. Added fine language to the bed assignment e-mails from HCPOP

4. Delay in bed assignments due to lack of available beds

       Proposed Solutions:

       a. Work on reducing the length of stay in crisis beds
               i. Refer to higher LOC sooner in the admission when appropriate
              ii. Discharge when appropriate (i.e., do not avoid discharge due to workload)
             iii. Consider Clozaril initiations only at Acute
       b. Improve length of stay in acute care beds to make room for crisis bed discharges.
       c. CHCF-PIP flexing 28 bed intermediate unit to acute unit B308A. Patient admissions
          scheduled to begin 8/18/17
       d. CCWF patients will be sent to CIW MHCB upon bed availability
       e. Operationalize safe double celling of MHCB patients at CCWF
       f. Sending all 4 Regional Administrators and teams to each of the PIPs for the next 3
          weeks to help with LRH review and determination of discharge appropriateness.



                                                                                       Exhibit 5 - 003
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5. MHCB discharge delays

   Proposed Solutions:

       a. Coordination of medication and pharmacy needs for discharged patients waiting to
          transfer out of a MHCB.
               i. Explore state law requirements for discharge medications
              ii. Evaluate Omni cell medication supply
       b. Consider transferring clinical discharged patients locally pending transfer to home
          institution (within 72 hours)


Additional details and Proposed Solutions to Improve Transfer Times:

1. CDCR has initiated a focus group to analyze and make recommendations on improving the
workflow of the C&PR’s.
2. CHCF PIP flipping 28 bed Intermediate unit to an acute unit. Patient admissions scheduled to
begin 8/18/17
3. Monitoring and reporting reasons for delays. CDCR is working to automate tracking of crisis
bed referral timelines, including reasons for delays.




                                                                                    Exhibit 5 - 004
